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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:

JACK ROBINSON, II AND MARY                                  CASE NO: 14-57238-bem
ANNETTA ROBINSON,
     Debtors                                                      CHAPTER 13


WILMINGTON SAVINGS FUND SOCIETY,
FSB, DOING BUSINESS AS CHRISTIANA
TRUST, NOT IN ITS INDIVIDUAL
CAPACITY BUT SOLELY AS TRUSTEE
FOR BCAT 2014-9TT,
      Movant

v.
                                                            CONTESTED MATTER
JACK ROBINSON, II AND MARY
ANNETTA ROBINSON,
     Debtors

MARY IDA TOWNSON,
    Trustee

         Respondents

                        NOTICE OF ASSIGNMENT OF HEARING

        NOTICE IS HEREBY GIVEN THAT a Motion for Relief from the Automatic Stay
 has been filed in the above-styled case. In the event a hearing cannot be held within thirty (30)
 days from the filing of the motion for relief from the automatic stay as required by 11
 U.S.C. § 362, Movant waives this requirement and agrees to the next earliest possible date, as
 evidenced by signature below. The undersigned consents to the automatic stay (and any related
 co-debtor stay) remaining in effect with respect to Movant until the court orders otherwise.

       HEARING will be held at 9:30 AM on January 23, 2018, in Courtroom 1402 at the
 U.S. Courthouse, 75 Ted Turner Drive (f/k/a Spring Street), SW, Atlanta, GA 30303.

         Your rights may be affected by the Court’s ruling on these pleadings. You should read
 these papers carefully and discuss them with your attorney, if you have one in this bankruptcy
 case. (If you do not have an attorney, you may wish to consult one.) If you do not want the
 court to grant the relief sought in these pleadings, or if you want the Court to consider your
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 views, then you and/or your attorney must attend the hearing. You may also file a written
 response to the pleading with the Clerk at the address stated below, you are not required to do so.
 If you file a written response, you must attach a certificate stating when, how and to whom
 (including addresses) you served the response. Mail/deliver your response so it is received by the
 Clerk at least two (2) business days before the hearing. The address of the Clerk’s office: Clerk,
 United States Bankruptcy Court, Room 1340, 75 Ted Turner Drive, SW Atlanta, GA 30303.
 You must also mail a copy to the undersigned at the address below. In the event a hearing
 cannot be held within thirty (30) days from the filing of the motion for relief from the automatic
 stay as required by 11 U.S.C. § 362, Movant waives this requirement and agrees to the next
 earliest possible date, as evidenced by signature below. The undersigned consents to the automatic
 stay (and any related co-debtor stay) remaining in effect with respect to Movant until the court
 orders otherwise.


                                              /s/ Mallory Velten
                                              Mallory Velten (GA. Bar No. 726971)
                                              Attorney for Movant
                                              Brock & Scott, PLLC
                                              4360 Chamblee Dunwoody Rd. Suite 310
                                              Atlanta, GA 30341
                                              Phone: 404-789-2661
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:

JACK ROBINSON, II AND MARY                                   CASE NO: 14-57238-bem
ANNETTA ROBINSON,
     Debtors                                                       CHAPTER 13


WILMINGTON SAVINGS FUND SOCIETY,
FSB, DOING BUSINESS AS CHRISTIANA
TRUST, NOT IN ITS INDIVIDUAL
CAPACITY BUT SOLELY AS TRUSTEE
FOR BCAT 2014-9TT,
      Movant

v.
                                                             CONTESTED MATTER
JACK ROBINSON, II AND MARY
ANNETTA ROBINSON,
     Debtors

MARY IDA TOWNSON,
    Trustee

         Respondents

                    MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW WILMINGTON SAVINGS FUND SOCIETY, FSB, doing business as
CHRISTIANA TRUST, not in its individual capacity but solely as Trustee for BCAT 2014-9TT
(hereinafter “Movant”), a secured creditor in the above-captioned case, by and through counsel,
Brock & Scott, PLLC, and moves this Court to enter an order granting its request for relief from the
automatic stay imposed by 11 U.S.C. § 362(a):


         1.    On April 10, 2014, the Debtors, Jack Robinson, II and Mary Annetta Robinson, filed
a petition with the Bankruptcy Court for the Northern District of Georgia under Chapter 13 of Title
11 of the United States Code.
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       2.      The Debtors hold title to the real property (hereinafter “Collateral”) described in that
Security Deed recorded in the Henry County Register of Deeds in Book 10017 at Page 003 and
recorded on March 1, 2007 (hereinafter “Security Deed”) with an address of 138 Audubon Pkwy,
Stockbridge, Georgia 30281. A copy of the Security Deed is attached hereto and is incorporated
herein as Exhibit A.


       3.      Movant holds a Promissory Note secured by the Security Deed from the Debtors in
the original principal amount of $104,500.00 and dated January 18, 2007 (hereinafter “Note”). A
copy of the Note is attached hereto and incorporated herein as Exhibit B.


       4.      In the event the automatic stay in this case is modified, this case dismisses, and/or the
Debtors obtain a discharge and a foreclosure action is commenced on the mortgaged property, the
foreclosure will be conducted in the name of WILMINGTON SAVINGS FUND SOCIETY, FSB,
doing business as CHRISTIANA TRUST, not in its individual capacity but solely as Trustee for
BCAT 2014-9TT (Movant). Movant, directly or through an agent, has possession of the Note. The
Note is either made payable to Movant or has been duly endorsed. Movant is the original mortgagee
or beneficiary or the assignee of the Mortgage.


       5.      The Debtors have scheduled the value of the Collateral at $58,000.00.


       6.      Upon information and belief, the approximate payoff, exclusive of legal fees and
expenses incurred in connection with the instant motion, due and owing to Movant as of December
8, 2017 is $110,997.95.


       7.      As a result of the averments in paragraphs 5 and 6, no equity exists in the subject
property.


       8.      The Debtors have defaulted in the mortgage payments to be made outside of the plan.
Upon information and belief, the amount of default, exclusive of fees and costs, is as follows:
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                  6        payments @       $        945.30 $           5,671.80
                      (7/17 - 12/17)
                           Suspense         $          93.88 $             -93.88

                          Total Delinquency                    $        5,577.92

        9.      Cause exists for relief from the automatic stay. Direct post-petition mortgage
payments are not being made to Movant as required by the confirmed plan. As such, Movant’s
interests are not adequately protected.


        WHEREFORE, Movant prays the Court as follows:


        1.      Modify the Automatic Stay of 11 U.S.C. § 362(a) to permit Movant to enforce its
security interest in the Collateral including but not limited to any non-bankruptcy remedies to
foreclose and obtain possession.


        2.      Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable in this
case and so Movant may immediately enforce and implement this order granting relief from the
automatic stay.


        3.      In the event relief from the stay is granted, for a determination that the plan no longer
provides for Movant’s claim pursuant to 11 U.S.C. § 1322(b)(5) such that further compliance with
Rule 3002.1 is no longer necessary.


        4.      As an alternative to the relief prayed for above, grant adequate protection to Movant
for its interest in the Collateral.


        5.      That Creditor be entitled to recover its reasonable fees and expenses incurred in
connection with seeking the relief requested in this Motion.
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       6.      Plaintiff further prays that through its agents, servicers and representatives be
permitted to contact Debtors and/or Debtors’ counsel for the purpose of engaging in discussions and
consideration for possible loss mitigation options, solutions and/or resolutions with regard to the
underlying mortgage and note, including, but not limited to loan modification or other loss
mitigation alternatives.


       7.      Movant specifically requests permission to communicate with the Debtors and
Debtors’ counsel to the extent necessary to comply with applicable non-bankruptcy law; and


       8.      Grant Movant such other and further relief as the Court deems just and proper.



This 8th day of December, 2017.


                                           /s/ Mallory Velten
                                           Mallory Velten (GA. Bar No. 726971)
                                           Attorney for Movant
                                           Brock & Scott, PLLC
                                           4360 Chamblee Dunwoody Rd. Suite 310
                                           Atlanta, GA 30341
                                           Phone: 404-789-2661
                                           Fax: 404-294-0919
                                           bankruptcy@brockandscott.com
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                               CERTIFICATE OF SERVICE

        I, Mallory Velten, Attorney at Law, certify that I am, and at all times hereinafter mentioned
was, more than 18 years of age; that on the 8th day of December, 2017, I served on the persons listed
 below a copy of the within MOTION FOR RELIEF FROM STAY AND NOTICE OF
ASSIGNMENT OF HEARING by electronic service or by regular mail, with appropriate postage
affixed, at:

Jack Robinson, II
138 Audubon Pkwy
Stockbridge, GA 30281

Mary Annetta Robinson
138 Audubon Pkwy
Stockbridge, GA 30281

Howard P. Slomka
Overlook III, Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Mary Ida Townson
Suite 2200
191 Peachtree Street, NE
Atlanta, GA 30303-1740




This 8th day of December, 2017.
                                              Brock and Scott, PLLC

                                              /s/ Mallory Velten
                                              Mallory Velten (GA. Bar No. 726971)
                                              Brock & Scott, PLLC
                                              4360 Chamblee Dunwoody Rd. Suite 310
                                              Atlanta, GA 30341
                                              Ph: 404-789-2661
                                              Fax: 404-294-0919
                                              bankruptcy@brockandscott.com
     Exhibit A
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Exhibit
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Post-Petition                                                               Suspense
                Date Received Amount Received          Amount Due                            Suspense Balance
  Due date                                                                 Application

                                                                                                                   Loan Number
                     5/21/2014           $500.00                       $           500.00    $           500.00    Debtor                              Robinson
    5/1/2014         6/12/2014           $402.62   $          902.62   $          (500.00)   $              -      BK filed date                      4/10/2014
    6/1/2014          7/1/2014           $902.62   $          902.62   $              -      $              -      BK Case #                           14-57238
    7/1/2014         7/21/2014           $902.62   $          902.62   $              -      $              -      Loan Acquired                       6/1/2016
    8/1/2014         8/22/2014           $902.62   $          902.62   $              -      $              -      Post Next Due                       7/1/2017
    9/1/2014          9/8/2014           $902.62   $          902.62   $              -      $              -      Suspense                $              93.88
   10/1/2014         10/1/2014           $898.36   $          898.36   $              -      $              -
   11/1/2014       11/21/2014            $898.36   $          898.36   $              -      $              -
   12/1/2014         12/1/2014           $898.36   $          898.36   $              -      $              -
    1/1/2015       12/30/2014            $898.36   $          898.36   $              -      $              -
    2/1/2015         1/30/2015           $898.36   $          898.36   $              -      $              -              Due Date            Due Amount    # Months             Total Due
    3/1/2015          3/4/2015           $898.36   $          898.36   $              -      $              -      7/1/17-12/1/17                    $945.30    6             $          5,671.80
    4/1/2015          4/6/2015           $898.36   $          898.36   $              -      $              -                                                                 $               -
    5/1/2015          5/5/2015           $898.36   $          898.36   $              -      $              -                                                                 $               -
    6/1/2015         6/10/2015           $898.36   $          898.36   $              -      $              -                                                                 $               -
    7/1/2015          7/9/2015           $898.36   $          898.36   $              -      $              -                                                                 $               -
    8/1/2015         8/12/2015           $898.36   $          898.36   $              -      $              -                                                                 $               -
    9/1/2015         9/10/2015           $898.36   $          898.36   $              -      $              -                                                                 $               -
   10/1/2015       10/14/2015            $898.36   $          898.36   $              -      $              -                                                                 $               -
   11/1/2015       11/12/2015            $898.36   $          898.36   $              -      $              -                                                                 $               -
   12/1/2015       12/11/2015            $898.36   $          898.36   $              -      $              -                                                                 $               -
    1/1/2016         1/14/2016           $898.36   $          898.36   $              -      $              -                                                                 $               -
    2/1/2016         2/11/2016           $898.36   $          898.36   $              -      $              -                                                                 $               -
    3/1/2016         2/16/2016           $898.36   $          898.36   $              -      $              -                                                                 $               -
    4/1/2016          3/9/2016           $898.36   $          898.36   $              -      $              -                                                        Subtotal $          5,671.80
    5/1/2016         4/13/2016           $898.36   $          898.36   $              -      $              -                                                 Less Unapplied $              93.88
    6/1/2016         5/11/2016           $898.36   $          898.36   $              -      $              -                                         Total to bring current $           5,577.92
    7/1/2016          6/9/2016           $898.36   $          898.36   $              -      $              -
    8/1/2016         7/13/2016           $898.36   $          898.36   $              -      $              -
    9/1/2016         8/19/2016           $898.36   $          898.36   $              -      $              -
   10/1/2016       10/13/2016            $898.36   $          898.36   $              -      $              -      $             5,671.80
   11/1/2016       11/10/2016            $898.36   $          898.36   $              -      $              -      $            (5,577.92)
   12/1/2016       12/15/2016            $935.09   $          898.36   $            36.73    $            36.73    $                93.88 unapplied
    1/1/2017         1/12/2017           $945.30   $          898.36   $            46.94    $            83.67
    2/1/2017          3/1/2017           $945.30   $          935.09   $            10.21    $            93.88
    3/1/2017          3/8/2017           $945.30   $          945.30   $              -      $            93.88
    4/1/2017         5/10/2017           $945.30   $          945.30   $              -      $            93.88    Payment Address:
    5/1/2017    6/30/2017      $945.30             $          945.30   $              -      $            93.88    Shellpoint Mortgage Servicing
    6/1/2017    7/12/2017      $945.30             $          945.30   $              -      $            93.88    PO Box 740039
    7/1/2017                                       $          945.30   $          (945.30)   $          (851.42)   Cincinnati, OH 45274-0039
    8/1/2017                                       $          945.30   $          (945.30)   $        (1,796.72)
    9/1/2017                                       $          945.30   $          (945.30)   $        (2,742.02)   Overnight Payment Address:
   10/1/2017                                       $          945.30   $          (945.30)   $        (3,687.32)   Shellpoint Mortgage Servicing
   11/1/2017                                       $          945.30   $          (945.30)   $        (4,632.62)   Attn Payment Processing
   12/1/2017                                       $          945.30   $          (945.30)   $        (5,577.92)   55 Beattie Place Ste 110
                                                                       $              -      $        (5,577.92)   Greenville, SC 29601
                                                                       $              -      $        (5,577.92)
                                                                       $              -      $        (5,577.92)
                                                                       $              -      $        (5,577.92)
                                                                       $              -      $        (5,577.92)
                                                                       $              -      $        (5,577.92)
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                                                                       $              -      $        (5,577.92)
                                                                       $              -      $        (5,577.92)
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                                                                       $              -      $        (5,577.92)
                                                                       $              -      $        (5,577.92)
                                                                       $              -      $        (5,577.92)
                                                                       $              -      $        (5,577.92)
                                                                       $              -      $        (5,577.92)
                                                                       $              -      $        (5,577.92)
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                                                                                   MONDAY - FRIDAY:           8AM - 10PM ET
                                                                                        SATURDAY:              8AM - 3PM ET

                                              PHONE NUMBER:   (800) 365-7107
                                                FAX NUMBER: (866) 467-1187
                                       E-MAIL: LOANSERVICING@SHELLPOINTMTG.COM

 November 24, 2017

 Mary A Robinson
 138 Audubon Pkwy
 Stockbridge GA 30281

 Payoff figures have been requested on the loan for the borrower and property described below.

 Loan ID:
 Mary A Robinson
 138 Audubon Pkwy
 Stockbridge, GA 30281
 Loan Type: Conventional

 When remitting funds, please use our loan number to ensure proper posting and provide us with the
 borrower's forwarding address. Funds received in this office after 3:00 pm Eastern Time will be
 processed on the next business day, with interest charged to that date.

 All payoff figures are subject to clearance of funds in transit. The payoff is subject to final audit when
 presented. Any overpayment or refunds will be mailed directly to the borrower. We will prepare the
 release of our interest in the property after all funds have cleared.
              Projected Payoff Date                                        12/8/2017

              Principal Balance                                        $102,236.58
              Interest To 12/8/2017                                      $3,638.57
              Fees                                                       $1,101.64
              Prepayment Penalty                                             $0.00
              Release Fees                                                  $12.00
              Funds owed by borrower                                     $1,116.47
              Funds owed to borrower                                      ($687.97)
              Deferred Principal                                         $3,580.66



              Total Payoff                                             $110,997.95

              Per diem                                                       $19.07

 The next payment due date is 7/1/2017. Payments are made by Billing on a Monthly basis. The
 interest rate for this payment is 6.89000% and the P & I payment is $782.88. The taxes are next due
 11/15/2018.
 PLEASE CALL THE NUMBER LISTED ON THIS FORM TO UPDATE FIGURES PRIOR TO
 REMITTING FUNDS AS THEY ARE SUBJECT TO CHANGE WITHOUT NOTICE.
 Mailing Address
 Shellpoint Mortgage Servicing
 55 Beattie Place
 Suite 110
 Greeenville, SC 29601




 PO1.rpt
 11/24/2017
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                                                                                  SATURDAY:             8AM - 3PM ET

                                           PHONE NUMBER:   (800) 365-7107
                                             FAX NUMBER: (866) 467-1187
                                    E-MAIL: LOANSERVICING@SHELLPOINTMTG.COM

 Wiring Instructions - * You must include the "Reference" information listed below if wiring funds *
 Bank Name:              Wells Fargo
 ABA Number:
 Account Number:
 Account Name:           Shellpoint Mortgage Servicing
 Reference:




 PO1.rpt
 11/24/2017
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                                                                    MONDAY - FRIDAY:   8AM - 10PM ET
                                                                         SATURDAY:      8AM - 3PM ET

                                           PHONE NUMBER:   (800) 365-7107
                                             FAX NUMBER: (866) 467-1187
                                    E-MAIL: LOANSERVICING@SHELLPOINTMTG.COM

                                    Mary A Robinson - Loan ID #




                                              FEE DETAILS



               Description                                         Amount

              Late Charge Payment                                  $199.39

              Property Inspection                                  $126.50

              Court Costs                                           $25.00

              FC Costs                                               $5.94

              Prior Servicer Cost                                  $474.81

              Auctioneer Cost                                      $270.00

                                                                  $1,101.64




 PO1.rpt
 11/24/2017
